                 Case 2:24-cv-08280-WLH-E     Document 1    Filed 09/25/24   Page 1 of 50 Page ID #:1



             1      HARRIS M. MUFSON, pro hac vice forthcoming
                      hmufson@gibsondunn.com
             2      GIBSON, DUNN & CRUTCHER LLP
                    200 Park Avenue
             3      New York, New York 10166-0193
                    Telephone: 212.351.4000
             4
                    MATTHEW D. MCGILL, pro hac vice forthcoming
             5        mmcgill@gibsondunn.com
                    GIBSON, DUNN & CRUTCHER LLP
             6      1700 M Street, N.W.
                    Washington, D.C. 20036-4504
             7      Telephone: 202.955.8500
             8      ILISSA SAMPLIN, SBN 314018
                      isamplin@gibsondunn.com
             9      GIBSON, DUNN & CRUTCHER LLP
                    333 South Grand Avenue
           10       Los Angeles, California 90071-3197
                    Telephone: 213.229.7000
           11
                    CHRISTINE DEMANA, pro hac vice forthcoming
           12          cdemana@gibsondunn.com
                    GIBSON, DUNN & CRUTCHER LLP
           13       2001 Ross Avenue, Suite 2100
                    Dallas, Texas 75201-2923
           14       Telephone: 214.698.3100
           15       Attorneys for Plaintiff
                    ELECTRIC SOLIDUS, INC. d/b/a SWAN BITCOIN
           16
                                    IN THE UNITED STATES DISTRICT COURT
           17
                                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
           18
                                                    WESTERN DIVISION
           19       ELECTRIC SOLIDUS, INC. d/b/a            Case No. 2:24-cv-8280
           20       SWAN BITCOIN, a Delaware
                    corporation,                            COMPLAINT AND DEMAND FOR
           21                        Plaintiff,             JURY TRIAL
           22              v.
                                                            REDACTED VERSION OF
           23       PROTON MANAGEMENT LTD., a
                    British Virgin Islands corporation;     DOCUMENT PROPOSED TO BE
           24       THOMAS PATRICK FURLONG; ILIOS FILED UNDER SEAL
                    CORP., a California corporation;
           25       MICHAEL ALEXANDER HOLMES;
                    RAFAEL DIAS MONTELEONE;
           26       SANTHIRAN NAIDOO; ENRIQUE
                    ROMUALDEZ; and LUCAS
           27       VASCONCELOS,

           28                     Defendants.
Gibson, Dunn &
 Crutcher LLP


                                            COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E      Document 1   Filed 09/25/24   Page 2 of 50 Page ID #:2



             1            Plaintiff Electric Solidus, Inc. d/b/a Swan Bitcoin (“Swan”) complains and alleges
             2      the following against Defendants Proton Management Ltd. (“Proton”), Thomas Patrick
             3      Furlong, Ilios Corp., Michael Alexander Holmes, Rafael Dias Monteleone, Santhiran
             4      Naidoo, Enrique Romualdez, and Lucas Vasconcelos (collectively, “Defendants”).
             5                                  NATURE OF THE ACTION
             6            1.     Over a period of several weeks in July and August, Defendants and other
             7      agents hatched and executed a “rain and hellfire” plan to steal Swan’s billion-dollar
             8      Bitcoin mining business.
             9            2.     The individual Defendants (all former Swan consultants) conspired to steal
           10       Swan’s highly proprietary and confidential Bitcoin mining business, technology, trade
           11       secrets, property and personnel, and then resigned near-simultaneously on the evening
           12       of August 8, 2024, to join Defendant Proton—a copycat company Defendant Holmes
           13       created for the sole purpose of using Swan’s stolen technology and trade secret
           14       techniques and methods to usurp its mining business. Defendant Naidoo is now Proton’s
           15       Chief Investment Officer, and virtually all the consultants and employees who worked
           16       in Swan’s Bitcoin mining business—including Swan’s former executives and General
           17       Counsel—currently work for Defendant Proton with Swan’s confidential information
           18       and trade secrets.
           19             3.     The evidence of Defendants’ brazen theft is overwhelming. In the days and
           20       weeks before—and in the time surrounding—the individual Defendants’ departure from
           21       Swan, Defendant Monteleone cloned and exfiltrated highly proprietary code from
           22       Swan’s Bitcoin mining monitoring software—the Bitcoin Network Operating Center
           23       (“BNOC”)—directly from the secured coding platform GitHub and downloaded a copy
           24       of this Bitcoin mining “dashboard” outside of Swan’s secure systems. Others involved
           25       in the conspiracy who now work with Proton (including Proton’s current CEO—ex-
           26       Swan Chief Investment Officer and Head of Mining Raphael Zagury) also downloaded
           27       Swan’s BNOC.
           28
Gibson, Dunn &                                               1
 Crutcher LLP
                                            COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E     Document 1     Filed 09/25/24   Page 3 of 50 Page ID #:3



             1            4.     In all, Defendants misappropriated thousands of documents and files
             2      containing Swan’s proprietary and confidential information and trade secrets: mining
             3      processes developed through testing, mining performance data, data related to Swan’s
             4      mining inventory, mining operations and machine performance and configuration,
             5      financial modeling and information, weekly reports of all operations, ongoing deals with
             6      Swan business partners, and pricing information. And they attempted to cover their
             7      tracks—Defendant Monteleone, for example, attempted to delete his Swan email
             8      address from his GitHub account.
             9            5.     At the same time Defendants were stealing the crown jewels from Swan’s
           10       Bitcoin mining business, they executed their pre-planned scheme to solicit Swan’s
           11       mining personnel; usurp Swan’s funding arrangement; use Swan’s financing partner,
           12       cryptocurrency giant Tether, for “legal cover” for their misdeeds; and irreparably harm
           13       Swan’s ability to compete in the market. All of this is laid bare in Zagury’s notes, which
           14       also confirm Defendant Holmes was a ringleader.
           15
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28
Gibson, Dunn &                                                2
 Crutcher LLP
                                            COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E      Document 1    Filed 09/25/24   Page 4 of 50 Page ID #:4



             1            6.       The scheme from Zagury’s notes came to pass as planned: Defendant
             2      Holmes, Defendant Naidoo, and Zagury coordinated their resignations from Swan on
             3      August 8, 2024. Shortly thereafter, Holmes sent a message to Defendant Furlong,
             4      Defendant Monteleone, Defendant Romualdez, Defendant Vasconcelos, and other Swan
             5      conspirators signaling them that it was time to resign and join him, Defendant Naidoo,
             6      and Zagury at Defendant Proton. Over the next few hours, they did.
             7            7.       Four days later, Tether, Swan’s funding partner in its mining operation,
             8      notified Swan that Defendant Proton would be taking over “day-to-day” Bitcoin mining
             9      management in their joint venture, citing the departure of a “substantial number of Swan
           10       employees responsible for carrying out and overseeing the ongoing business
           11       operations.”
           12             8.       Since then, Defendants have continued to use the proprietary data,
           13       information, and resources they stole to operate Defendant Proton’s copycat Bitcoin
           14       mining business and have continued to work with Swan’s business partners and vendors
           15       while trading on Swan’s name. Defendants Furlong, Holmes/Ilios, Naidoo, Monteleone,
           16       Romualdez, and Vasconcelos have also ignored Swan’s repeated demands—under their
           17       binding contracts with Swan—that they return Swan’s devices and confidential,
           18       proprietary, and trade secret information.
           19             9.       Swan has now been left with no choice: it has come to this Court to hold
           20       Defendants to account for their willful and unlawful misconduct, including trade secret
           21       misappropriation, breach of contractual obligations to Swan, conversion, and unfair
           22       competition; to immediately stop Defendants from continuing to irreparably harm Swan
           23       by possessing and using Swan’s stolen proprietary, confidential, and trade secret
           24       information; and to recover the enormous economic damages it has lost and the
           25       attorneys’ fees it has incurred because of Defendants’ willful and unlawful theft of
           26
           27
           28
Gibson, Dunn &                                                   3
 Crutcher LLP
                                            COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E      Document 1     Filed 09/25/24   Page 5 of 50 Page ID #:5



             1      Swan’s Bitcoin mining business.1
             2                                              PARTIES
             3            10.    Plaintiff Swan is an industry leading Bitcoin financial services company
             4      that helps individuals and businesses purchase, save, and invest Bitcoin through its
             5      platform, and a leader in the field of Bitcoin mining. Swan is a Delaware corporation
             6      with its headquarters located at 26565 W. Agoura Road, Suite 200, Calabasas, California
             7      91302, which is in Los Angeles County in the Central District of California.
             8            11.    Defendant Proton is a British Virgin Islands Business Company with its
             9      headquarters at Trinity Chambers, PO Box 4301, Road Town, Tortola, British Virgin
           10       Islands. Its registered agent is Brittney Fahie, SHRM Trustees (BVI) Limited, Trinity
           11       Chambers, PO Box 4301, Road Town, Tortola, British Virgin Islands.
           12             12.    Defendant Furlong is a former Investment Director of Swan.                On
           13       information and belief, Defendant Furlong resides in Western Australia.
           14             13.    Defendant Holmes is a former Head of Business Development of Swan.
           15       On information and belief, Defendant Holmes resides in Los Angeles, California, which
           16       is located in Los Angeles County in the Central District of California.
           17             14.    Defendant Ilios is a California corporation with its headquarters located at
           18       664 South Mansfield Avenue, Los Angeles, California 90036, which is located in Los
           19       Angeles County in the Central District of California. Defendant Holmes contracted
           20       through Ilios to provide services to Swan.
           21
           22
                    1
           23         Swan seeks monetary damages in this action only against Defendant Proton. In
                    contracts with Swan, Defendants Furlong, Holmes/Ilios, Monteleone, Naidoo,
           24       Romualdez, and Vasconcelos agreed to arbitrate claims related to their consulting
           25       relationships with Swan. . However, those agreements state that Swan may seek
                    injunctive relief in court for violations of any agreement regarding intellectual property,
           26       confidential information, or noninterference. Swan anticipates pursuing additional
           27       claims against Defendants Furlong, Holmes/Ilios, Monteleone, Naidoo, Romualdez, and
                    Vasconcelos in arbitration and reserves all rights associated with doing so, without
           28       waiver.
Gibson, Dunn &                                                 4
 Crutcher LLP
                                            COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E      Document 1      Filed 09/25/24    Page 6 of 50 Page ID #:6



             1            15.    Defendant Monteleone is a former Investment Analyst of Swan. On
             2      information and belief, Defendant Monteleone resides in São Paolo, Brazil.
             3            16.    Defendant Naidoo is a former Investment Director of Swan.                    On
             4      information and belief, Defendant Naidoo resides in London, United Kingdom.
             5            17.    Defendant Romualdez is a former Junior Investment Analyst of Swan. On
             6      information and belief, Defendant Romualdez resides in Toronto, Ontario, Canada.
             7            18.    Defendant Vasconcelos is a former Software Engineer of Swan.                 On
             8      information and belief, Defendant Vasconcelos resides in Ceilândia, Brazil.
             9                                  JURISDICTION AND VENUE
           10             19.    This Court has original jurisdiction over this action pursuant to the Defend
           11       Trade Secrets Act (“DTSA”), 18 U.S.C. § 1836, et seq., and 28 U.S.C. § 1331. This
           12       Court has supplemental jurisdiction over the other claims pleaded herein pursuant to 28
           13       U.S.C. § 1367.
           14             20.    This Court has personal jurisdiction over Defendant Furlong pursuant to
           15       the forum-selection clause in his consulting agreement with Swan, dated May 21, 2024,
           16       through which Furlong irrevocably submitted to the exclusive jurisdiction and venue of
           17       the state and federal courts located in this District. That agreement provides that, while
           18       “all controversies, claims or disputes . . . arising out of, relating to, or resulting from
           19       Consultant’s consulting or other relationship with [Swan] or the termination of
           20       Consultant’s consulting or other relationship with [Swan], including any breach of this
           21       agreement, shall be subject to binding arbitration pursuant to California law,” “any party
           22       may also petition the court for injunctive relief where either party alleges or claims a
           23       violation of any agreement regarding intellectual property, confidential information or
           24       noninterference.”
           25             21.    This Court has personal jurisdiction over Defendants Ilios and Holmes
           26       pursuant to the forum-selection clause in Ilios’s consulting agreement with Swan, dated
           27       December 6, 2023, through which Holmes, on behalf of Ilios, irrevocably submitted to
           28       the exclusive jurisdiction and venue of the state and federal courts located in this District.
Gibson, Dunn &                                                  5
 Crutcher LLP
                                            COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E      Document 1     Filed 09/25/24    Page 7 of 50 Page ID #:7



             1      That agreement provides that, while “all controversies, claims or disputes . . . arising out
             2      of, relating to, or resulting from Consultant’s consulting or other relationship with
             3      [Swan] or the termination of Consultant’s consulting or other relationship with [Swan],
             4      including any breach of this agreement, shall be subject to binding arbitration pursuant
             5      to California law,” “any party may also petition the court for injunctive relief where
             6      either party alleges or claims a violation of any agreement regarding intellectual
             7      property, confidential information or noninterference.”
             8            22.    This Court has personal jurisdiction over Defendant Monteleone pursuant
             9      to the forum-selection clause in his consulting agreement with Swan, dated May 10,
           10       2024, through which Monteleone irrevocably submitted to the exclusive jurisdiction and
           11       venue of the state and federal courts located in this District. That agreement provides
           12       that, while “all controversies, claims or disputes . . . arising out of, relating to, or
           13       resulting from Consultant’s consulting or other relationship with [Swan] or the
           14       termination of Consultant’s consulting or other relationship with [Swan], including any
           15       breach of this agreement, shall be subject to binding arbitration pursuant to California
           16       law,” “any party may also petition the court for injunctive relief where either party
           17       alleges or claims a violation of any agreement regarding intellectual property,
           18       confidential information or noninterference.”
           19             23.    This Court has personal jurisdiction over Defendant Naidoo pursuant to the
           20       forum-selection clause in his consulting agreement with Swan, dated July 26, 2023,
           21       through which Naidoo irrevocably submitted to the exclusive jurisdiction and venue of
           22       the state and federal courts located in this District. That agreement provides that, while
           23       “all controversies, claims or disputes . . . arising out of, relating to, or resulting from
           24       Consultant’s consulting or other relationship with [Swan] or the termination of
           25       Consultant’s consulting or other relationship with [Swan], including any breach of this
           26       agreement, shall be subject to binding arbitration pursuant to California law,” “any party
           27       may also petition the court for injunctive relief where either party alleges or claims a
           28
Gibson, Dunn &                                                 6
 Crutcher LLP
                                            COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E      Document 1     Filed 09/25/24   Page 8 of 50 Page ID #:8



             1      violation of any agreement regarding intellectual property, confidential information or
             2      noninterference.”
             3            24.    This Court has personal jurisdiction over Defendant Romualdez pursuant
             4      to the forum-selection clause in his consulting agreement with Swan, dated
             5      December 14, 2023, through which Romualdez irrevocably submitted to the exclusive
             6      jurisdiction and venue of the state and federal courts located in this District. That
             7      agreement provides that, while “all controversies, claims or disputes . . . arising out of,
             8      relating to, or resulting from Consultant’s consulting or other relationship with [Swan]
             9      or the termination of Consultant’s consulting or other relationship with [Swan],
           10       including any breach of this agreement, shall be subject to binding arbitration pursuant
           11       to California law,” “any party may also petition the court for injunctive relief where
           12       either party alleges or claims a violation of any agreement regarding intellectual
           13       property, confidential information or noninterference.”
           14             25.    This Court has personal jurisdiction over Defendant Vasconcelos pursuant
           15       to the forum-selection clause in his consulting agreement with Swan, dated
           16       September 29, 2023, through which Vasconcelos irrevocably submitted to the exclusive
           17       jurisdiction and venue of the state and federal courts located in this District. That
           18       agreement provides that, while “all controversies, claims or disputes . . . arising out of,
           19       relating to, or resulting from Consultant’s consulting or other relationship with [Swan]
           20       or the termination of Consultant’s consulting or other relationship with [Swan],
           21       including any breach of this agreement, shall be subject to binding arbitration pursuant
           22       to California law,” “any party may also petition the court for injunctive relief where
           23       either party alleges or claims a violation of any agreement regarding intellectual
           24       property, confidential information or noninterference.”
           25             26.    This Court has personal jurisdiction over Defendant Proton because Proton
           26       has purposefully directed unlawful activities towards California. Proton’s employees
           27       and agents unlawfully stole Swan’s confidential and proprietary information, including
           28       trade secrets. This was an intentional act that was expressly aimed at California, the
Gibson, Dunn &                                                 7
 Crutcher LLP
                                            COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E       Document 1      Filed 09/25/24    Page 9 of 50 Page ID #:9



             1      effects of which were felt in California because the stolen confidential and proprietary
             2      information were located in California, Swan is headquartered in California, and Swan’s
             3      principal place of business is in California. On information and belief, Proton, through
             4      its agents and employees, was aware of these facts, and thus Proton caused harm that it
             5      knew was likely to be suffered in California. Moreover, on information and belief,
             6      Holmes, who founded Proton and is one of Proton’s senior leaders, resides in California,
             7      and was physically located in California during the period in which he formed Proton
             8      and, as an agent of Proton, breached his contractual obligations with Swan and made
             9      decisions and participated in calls and other communications with respect to the events
           10       giving rise to this lawsuit. It was foreseeable to Proton that the harm to Swan would be
           11       inflicted in California. Plaintiffs’ claims against Proton arise out of Proton’s actions that
           12       harmed Swan in California.
           13               27.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), because a
           14       substantial portion of the events giving rise to the claims occurred in this judicial district,
           15       the intellectual property that is the subject of this dispute is situated in this judicial
           16       district, Defendants Ilios and Holmes reside in this District for purposes of 28 U.S.C.
           17       § 1391, and nearly all of the Defendants expressly consented to this venue pursuant to
           18       the contract terms excerpted above.
           19                                                  FACTS
           20          I.         Entrepreneurs Cory Klippsten and Yan Pritzker Found Swan
           21               28.     Cory Klippsten founded what is now Swan in June 2019, with Yan Pritzker
           22       joining the Company later that year.
           23               29.     Klippsten, Swan’s Chief Executive Officer, has always been passionate
           24       about technology. Before receiving an MBA from the University of Chicago, Klippsten
           25       worked at Microsoft and Morgan Stanley, and later worked at Google and McKinsey.
           26       Klippsten is a partner, investor, and advisor of multiple Bitcoin-focused venture capital
           27       firms, and over the years has served as an investor and advisor to more than 60 early-
           28       stage tech companies. He originally founded Electric Solidus, LLC (now Electric
Gibson, Dunn &                                                   8
 Crutcher LLP
                                             COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E         Document 1 Filed 09/25/24       Page 10 of 50 Page ID
                                                          #:10


             1     Solidus, Inc. d/b/a Swan Bitcoin) as a Bitcoin gifting service; its first product was called
             2     “GiveBitcoin.”
             3              30.     Pritzker, Swan’s Chief Technology Officer, is a serial tech entrepreneur and
             4     remains one of the most trusted authorities on Bitcoin.
             5              31.     The last startup Pritzker co-founded, Reverb, was sold to Etsy in 2019. He
             6     then authored “Inventing Bitcoin,” an introductory text for persons new to Bitcoin.
             7     Bitcoin represents much more to Pritzker than an online currency; it represents freedom.
             8     Pritzker grew up in the Soviet Union, where prices were fixed, capital was controlled,
             9     and the economy failed to supply basic goods. Those experiences spurred his interest in
           10      Bitcoin as a portable, decentralized currency.
           11               32.     In January 2020, Klippsten and Pritzker rebranded the Company as Swan
           12      Bitcoin and set out to offer customers a truly user-focused product that combined
           13      Klippsten’s passion and expertise for building tech companies with Pritzker’s
           14      engineering experience and deep knowledge and belief in the currency. Over the next
           15      few years, Klippsten and Pritzker grew Swan into an industry leading Bitcoin financial
           16      services company that educates and helps individuals, businesses, and retail traders
           17      purchase, save, and invest in Bitcoin and related products and services through an
           18      accessible and user-friendly interface.
           19         II.         Swan Builds a Successful Bitcoin Mining Business
           20               33.     After several years of success, Swan planned to pursue opportunities in the
           21      Bitcoin “mining” space to further supplement its Bitcoin business. Klippsten and
           22      Prizker had served as Board Advisors for Riot Platforms, a Bitcoin mining and digital
           23      infrastructure company, from 2019 through 2022, and shared a keen interest in playing
           24      a role in the mining space over time. Swan created a new Institutional division in
           25      January 2023, with a primary focus on developing financial services for investors and
           26      operators in Bitcoin mining.
           27               34.     Bitcoin mining is the computerized process by which individuals and
           28      entities verify and secure Bitcoin transactions and obtain Bitcoin. Unlike traditional
Gibson, Dunn &                                                   9
 Crutcher LLP
                                              COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E      Document 1 Filed 09/25/24        Page 11 of 50 Page ID
                                                       #:11


             1     currencies, Bitcoin can be transferred between people or computers without relying on
             2     trusted third parties like governments or banks. In a traditional banking system, for
             3     example, third-party banks act as ledgers, recording customers’ debits and credits and
             4     verifying that money can move from one account to another. In that system, customers
             5     must rely on the bank to approve and verify every payment. But Bitcoin is based on a
             6     decentralized ledger, wherein every transaction in the Bitcoin network is recorded and
             7     verified, not by a single entity like a bank, but by hundreds of thousands of members on
             8     a network. Anyone in the world can join the Bitcoin network by connecting their
             9     computer to the network and tracking transactions in the ledger.
           10            35.    For this network to function, members must verify the transactions. Bitcoin
           11      incentivizes network members to verify transactions by holding a “contest” to determine
           12      (a) who wins the right to enter these transactions into the ledger and (b) who has the
           13      chance to obtain new Bitcoin. Each “miner” seeking to participate attempts to solve a
           14      puzzle on the network. Every ten minutes, one miner is chosen at random and that miner
           15      wins the right to record all Bitcoin transactions into the decentralized ledger that took
           16      place since the last contest. That miner also gets to present its solution to the puzzle,
           17      and, if it provides the correct answer, the miner announces that answer to the rest of the
           18      network along with the input the miner used and the transactions it has recorded. If the
           19      miner completes this full process correctly, it is paid a fee, and the transactions it has
           20      announced are called a “block.” Every other computer on the Bitcoin network validates
           21      the block by confirming that the solution to the puzzle is correct, that the block does not
           22      contain any invalid transactions, and that the history within it does not conflict with prior
           23      blocks. Those computers then all write the block into their copy of the ledger, appending
           24      it into the existing chain of blocks, producing a “blockchain.” The successful miner gets
           25      the Bitcoins on the block, and the process repeats ten minutes later.
           26            36.    Bitcoin mining can be extremely lucrative; the value of a single Bitcoin on
           27      the date of this filing (September 25, 2024) is approximately $63,000. But mining is
           28      also extremely expensive and requires deep expertise, as well as data-driven testing
Gibson, Dunn &                                                10
 Crutcher LLP
                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E      Document 1 Filed 09/25/24       Page 12 of 50 Page ID
                                                       #:12


             1     through trial and error, to participate profitably at scale. Mining requires highly
             2     advanced computers that are specially designed to continuously run the computations
             3     needed to enter the “contest” multiple times. In addition to the cost of these machines,
             4     Bitcoin mining consumes significant amounts of energy, and mining operations must be
             5     constantly monitored to ensure efficient energy use, prevent overheating of the
             6     equipment, and optimize the equipment deployed. The more computers an operation
             7     has (and therefore, the more energy it uses), the higher its chances to secure Bitcoin
             8     through the contest. Lower electricity cost means more mining, higher output, and
             9     greater profitability.   If this energy and the mining operations are not managed
           10      efficiently, the hardware, electricity and other costs associated with Bitcoin mining can
           11      easily exceed the value of the mined Bitcoin.
           12              37.   To start Swan’s Bitcoin mining business, it brought on several of the largest
           13      Bitcoin miners as sponsors of its Pacific Bitcoin conferences in November 2022 and
           14      October 2023, and of Swan’s media properties from 2022 to the present. In May 2023,
           15      Swan had begun planning what would become an incredibly successful Mining Industry
           16      VIP event the day prior to its Pacific Bitcoin conference in October 2023. With the
           17      addition of Guilherme Gomes (later Swan’s President) in May 2022 and Raphael Zagury
           18      (later Swan’s Chief Investment Officer) in December 2022, Swan began planning in
           19      earnest to serve large Bitcoin miners in early 2023 as clients of its Swan Institutional
           20      unit.
           21              38.   On June 1, 2023, Klippsten learned of the DAME Bitcoin mining site in
           22      Tasmania, Australia, from a Swan employee who had invested in the project in 2021.
           23      Klippsten immediately recognized the project’s great potential: to build a large new
           24      Bitcoin mining operation site in a jurisdiction with a favorable regulatory and financing
           25      regime and extremely low energy costs.          That evening, Klippsten mentioned the
           26      company to his friend Defendant Holmes, who told Klippsten that he was aware of the
           27      company and that he was working to secure a Series A round of funding for DAME.
           28      Klippsten and Holmes agreed that Swan would work to source investment for the deal.
Gibson, Dunn &                                                11
 Crutcher LLP
                                            COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E     Document 1 Filed 09/25/24       Page 13 of 50 Page ID
                                                      #:13


             1           39.    Klippsten spoke with Giancarlo Devasini of Tether, a cryptocurrency
             2     company, early the next day and they agreed that Tether would provide funding, with
             3     Swan managing the mining investment. With years of experience and contacts in
             4     Bitcoin, and now a foothold deal and a financial backer, the Swan team quickly set about
             5     exploring additional opportunities in the mining space.
             6           40.    Within a month, Swan was aggressively purchasing as many Bitcoin
             7     mining machines as it could find, and it began contracting with host sites to plug them
             8     in and start mining. Defendant Holmes consulted to Swan for the sourcing of both
             9     machines and sites.2
           10            41.    Swan also started hiring and building out its mining team. Bitcoiners were
           11      eager to join—the Swan brand was highly respected and the Company had established
           12      itself as a trusted authority on Bitcoin and among the most desirable places to work in
           13      the industry. Job postings for Swan often resulted in hundreds of applications from
           14      highly qualified individuals both inside and outside of the industry.
           15            42.    Swan’s then-Chief Investment Officer, Raphael Zagury, also was at the
           16      forefront of the operation. Swan had originally hired Zagury in December 2022, and he
           17      served on the Company’s executive team. As Chief Investment Officer, Zagury believed
           18      Swan could grow its investment in Bitcoin mining substantially.
           19            43.    In July 2023, Zagury started managing the Tasmanian mining operations
           20      for Swan, and Swan’s mining team grew from approximately five to twelve dedicated
           21      employees and independent contractors—eventually including Vice President of
           22      Institutional Operations & Research Brett Hiley, Financial Controller Tyler Effertz,
           23      Technical Researcher Kartheek Sola, and Staff Accountant Aleksander Dozic, and
           24      consultants (other individual Defendants) Investment Director Thomas Patrick Furlong,
           25      Special Situations Analyst Santhiran Naidoo, Investment Analyst Rafael Dias
           26
                   2
           27        Swan and Holmes would negotiate and reduce to writing their relationship with a
                   consulting agreement Defendant Holmes signed on behalf of his personal company
           28      Defendant Ilios before the end of the year that included backpay.
Gibson, Dunn &                                               12
 Crutcher LLP
                                          COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E      Document 1 Filed 09/25/24        Page 14 of 50 Page ID
                                                       #:14


             1     Monteleone, Junior Investment Analyst Enrique Romualdez, and Software Engineer
             2     Lucas Vasconcelos. Defendant Holmes consulted (Operating Manager) through his
             3     personal company, Defendant Ilios, and Swan retained Maxwell Berg, of MB Law LLC,
             4     to serve as external Associate General Counsel tasked with assisting in various corporate
             5     and commercial matters. Swan’s executive team, including then-President Gomes and
             6     then-General Counsel Bill Belitsky also oversaw the new mining team.
             7           44.    At the same time, Swan built out the proprietary aspects of its business and
             8     mining operations that would distinguish the Company from competitors.
             9           45.    First, Swan spent significant time and money developing its Bitcoin
           10      Network Operating Center (“BNOC”), a complex proprietary platform for managing
           11      mining data and analytics. BNOC allows Swan to track mining sites, weather, price of
           12      Bitcoin, hash-rate (the rate of attempts per second to solve the puzzle for the chance to
           13      obtain new Bitcoin), and other data concerning mining operations, including the specific
           14      combinations of factors that lead to the profitability of a specific mining location. It can
           15      provide a real-time detailed look into mining operations and can quickly pinpoint
           16      problems.
           17            46.    Swan developed and owns BNOC, quickly making the Company an
           18      industry leader in Bitcoin mining in two primary ways: (a) BNOC allowed Swan to
           19      track and maximize certain metrics to increase the speed at which the computers solve
           20      puzzles (and increasing their chances to obtain Bitcoin through the “contest”) while
           21      minimizing energy usage and costs; and (b) BNOC operates as a highly valuable service
           22      that provides incredibly detailed, real-time visibility into mining operations.
           23            47.    Second, Swan developed, through testing, proprietary hash-rate
           24      optimization techniques for Bitcoin mining.3 Those techniques likewise maximize the
           25      number of computations-per-second that mining hardware can perform, increasing the
           26
           27
                   3
                    “Hash-rate” refers to the computational power of mining hardware, measured by the
           28      number of calculations (“hashes”) it performs per second.
Gibson, Dunn &                                                13
 Crutcher LLP
                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E        Document 1 Filed 09/25/24     Page 15 of 50 Page ID
                                                         #:15


             1     speed at which the computers solve puzzles (which, again, increases their chances to win
             2     Bitcoin) while minimizing costs.
             3             48.     Swan’s “overclocking and underclocking” methods are one of these
             4     techniques. “Overclocking and underclocking” refers to specialized procedures that
             5     safely alter the performance of mining hardware to optimize its power beyond
             6     manufacturer specifications, without compromising stability.         Other optimization
             7     techniques are Swan’s geographic insights and modeling tools (proprietary methods for
             8     selecting optimal mining locations), latency optimization (strategies to reduce network
             9     latency and improve mining efficiency), cooling and software optimizations for mining
           10      hardware and software, and proprietary pool analytics (internal tools that analyze mining
           11      “pool” performance metrics to select the most profitable and reliable pools4).
           12              49.     Third, Swan developed proprietary financial modeling, data analytics, and
           13      financial monitoring tools.        Swan’s cost-benefit analysis models calculate the
           14      profitability of varying mining setups and strategies; real-time performance dashboards
           15      provide customized interfaces for immediate insights into operational efficiency; and
           16      marketing trend analysis tools analyze market trends to inform Bitcoin mining
           17      operations decisions.
           18          III.      Swan Protects the Secrecy of Its Proprietary Information
           19              50.     To protect the competitive advantage Swan’s proprietary and trade secret
           20      mining information conferred on its business, Swan’s mining employees and consultants
           21      (including each of the individual Defendants) agreed to hold all of Swan’s confidential
           22      and proprietary information and trade secrets in the strictest confidence.
           23              51.     Defendants Furlong, Holmes (on behalf of Defendant Ilios), Monteleone,
           24      Naidoo, Romualdez, and Vasconcelos specifically agreed in their consulting agreements
           25      that:
           26
                   4
           27       A mining “pool” is a group of cooperating miners who agree to share the fees and new
                   Bitcoin associated with winning a “block,” as outlined in paragraph 35 above. Swan
           28      and other Bitcoin miners at times enter into these pools with other miners.
Gibson, Dunn &                                                14
 Crutcher LLP
                                             COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E     Document 1 Filed 09/25/24        Page 16 of 50 Page ID
                                                      #:16


             1
             2                  During and after the term of this Agreement, Consultant will hold
                                in the strictest confidence, and take all reasonable precautions to
             3                  prevent any unauthorized use of disclosure of Confidential
             4                  Information,5 and Consultant will not (i) use the Confidential
                                Information for any purposes whatsoever other than as necessary
             5                  for the performance of the Services on behalf of the Company,
             6                  or (ii) subject to Consultant’s right to engage in Protected
                                Activity (as defined below [i.e., filing a charge with the
             7                  Government]), disclose the Confidential Information to any third
             8                  party without the prior written consent of an authorized
                                representative of the Company, except that Consultant may
             9                  disclose Confidential Information to the extent compelled by
           10                   applicable law; provided however, prior to such disclosure,
                                Consultant shall provide prior written notice to [the] Company
           11                   and seek a protective order or such similar confidential
           12                   protection as may be available under applicable law. Consultant
                                agrees that no ownership of Confidential Information is
           13
           14      5
                     “Confidential Information” is defined as “any information (including any and all
           15      combinations of individual items of information) that relates to the actual or anticipated
                   business and/or products, research or development of the Company, its affiliates or
           16      subsidiaries, or to the Company’s, its affiliates’ or subsidiaries’ technical data, trade
           17      secrets, or know-how, including, but not limited to, research, product plans, or other
                   information regarding the Company’s, its affiliates’ or subsidiaries’ products or services
           18      and markets therefor, customer lists and customers (including, but not limited to,
           19      customers of the Company on whom Consultant called or with whom Consultant became
                   acquainted during the term of this Agreement), software, developments, inventions,
           20      discoveries, ideas, processes, formulas, technology, designs, drawings, engineering,
           21      hardware configuration information, marketing, finances, and other business
                   information disclosed by the Company, its affiliates or subsidiaries, either directly or
           22      indirectly, in writing, orally or by drawings or inspection of premises, parts, equipment
           23      or other property of [the] Company, its affiliates or subsidiaries.” “Confidential
                   Information” does not include information that was publicly available through no
           24      wrongful act of the consultant or was independently developed “with no reference to the
           25      Confidential Information.” Defendant Ilios’s consulting agreement also excludes from
                   the definition of “Confidential Information” “all of Consultant’s involvement,
           26      relationship, and dealings with Daniel Tuzzio [], and all of Tuzzio’s affiliated entities,
           27      whether in existence prior to or after the Effective Date” of the Agreement. Tuzzio was
                   a preexisting business associate of Defendant Holmes who Swan and Holmes agreed
           28      would perform services for Swan through Holmes.
Gibson, Dunn &                                               15
 Crutcher LLP
                                          COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E        Document 1 Filed 09/25/24      Page 17 of 50 Page ID
                                                         #:17


             1                  conveyed to the Consultant. Without limiting the foregoing,
             2                  Consultant shall not use or disclose any Company property,
                                intellectual property rights, trade secrets or other proprietary
             3                  know-how of the Company to invent, author, make, develop,
             4                  design, or otherwise enable others to invent, author, make,
                                develop, or design identical or substantially similar designs as
             5                  those developed under this Agreement for any third party.
             6                  Consultant agrees that Consultant’s obligations under this
                                Section [] shall continue after the termination of this Agreement.6
             7
                         52.    Swan also reiterated confidentiality to its consultants in its “Contractor
             8
                   Playbook,” which it provides to all consultants and contractors.           The Contractor
             9
                   Playbook explains that “[i]t is crucial to maintain confidentiality regarding company
           10
                   information and client discussions.” The Contractor Playbook directs consultants and
           11
                   contractors to “assume anything Swan-related is confidential – including company,
           12
                   employee/contractor/staff, and client information.” (Swan’s “Employee Playbook”
           13
                   contains similar guidance.)
           14
                         53.    To bolster these protections, Swan also supplemented the mining employe
           15
                   and contractor agreements with a robust infrastructure of agreements, policies, and
           16
                   technological safeguards to maintain the secrecy of its confidential and proprietary
           17
                   information and trade secrets.
           18
                         54.    Swan’s Information Security Policy, for example, “ensures that Swan’s
           19
                   information assets are properly identified, recorded, and afforded suitable security
           20
                   measures at all times.” The Policy provides that access to Swan documents must be
           21
                   limited to the “most restrictive level possible that still enables the user to perform their
           22
                   job effectively,” explains that “[e]mployees and contractors are required to maintain the
           23
                   confidentiality of information to them by Swan, its customers, and suppliers,” and
           24
                   cautions that “[u]nauthorized use or distribution of proprietary information violates
           25
           26      6
                    See Exs. A-F to the Declaration of Cory Klippsten in Support of Plaintiff’s Ex Parte
           27      Application for Temporary Restraining Order Without Notice, Evidence Preservation
                   and Limited Seizure Order, Expedited Discovery Order, Protective Order, and OSC re:
           28      Preliminary Injunction (“Klippsten Decl.”), filed concurrently.
Gibson, Dunn &                                                16
 Crutcher LLP
                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E       Document 1 Filed 09/25/24       Page 18 of 50 Page ID
                                                        #:18


             1     Swan’s Policy and may be illegal and result in civil and/or criminal penalties.” It
             2     identifies seventeen activities that are “strictly prohibited, with no exceptions,”
             3     including:
             4                  Violations of the rights of any person or company protected by
             5                   copyright, trade secret, patent, or other intellectual property, or
                                 similar laws or regulations. . . .
             6                  Accessing data, a server, or an account for any purpose other than
             7                   conducting Swan Bitcoin business, even if you have authorized
                                 access; and
             8                  Providing information about or lists of Swan Bitcoin employees,
             9                   contractors, partners, or customers to parties outside Swan Bitcoin
                                 without authorization.
           10
                         55.      Swan’s Security Agents Policy also requires two security applications to be
           11
                   present “on all devices that interact with Swan or company-wide data,” which the Policy
           12
                   advises “is crucial for ensuring the integrity and protection of our Swan assets.” One
           13
                   application “is used in enforcing Swan security policies . . . contributing significantly to
           14
                   the overall security posture of [Swan’s] systems.” The other application “serves as an
           15
                   additional layer of defense, boosting [Swan’s] cybersecurity measures to safeguard
           16
                   against external threats.”
           17
                         56.      And to access the system that houses Swan’s confidential and proprietary
           18
                   information and trade secrets, Swan’s mining employees and consultants must enter a
           19
                   password that must meet certain complexity requirements, as well as engage in a multi-
           20
                   factor authentication process that requires the user to successfully present multiple
           21
                   pieces of evidence to prove their identity.
           22
                         57.      Swan undertook even further protections for BNOC, securely storing the
           23
                   software code on a developer platform called GitHub and restricting access to authorized
           24
                   users with valid credentials. To access BNOC, Swan’s Information Security team must
           25
                   approve access for specific Swan personnel. In accordance with Swan’s policies, the
           26
                   Information Security team tightly restricts permissions to access BNOC, limited to only
           27
                   those personnel who are directly involved in managing BNOC (such as software
           28
Gibson, Dunn &                                                17
 Crutcher LLP
                                            COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E     Document 1 Filed 09/25/24      Page 19 of 50 Page ID
                                                      #:19


             1     developers, security engineers, and platform engineers). Even for personnel with
             2     permissions to access GitHub, users must first access Swan’s suite of software tools by
             3     entering a unique username to which Swan grants rights to access the code. Users must
             4     then correctly enter an SSH Key, a secure, cryptographic key pair used to access remote
             5     servers without a password, before they can access Swan’s code.
             6        IV.      Swan Forms 2040 Energy, a Financing Arrangement to Raise Capital for
             7                 Bitcoin Mining
             8           58.     To fulfill Swan’s goal of expanding further into the Bitcoin mining
             9     industry, Klippsten had contacted Tether about providing capital for DAME. Tether had
           10      invested in Swan before under the name “BFX Ventures Limited.”
           11            59.     On July 28, 2023, Swan and Tether, through Tether’s subsidiary Zettahash
           12      Inc., entered into a Shareholders Agreement (along with a third-party individual who
           13      originally helped to facilitate the relationship) that would govern the arrangement—
           14      known as 2040 Energy.
           15            60.     2040 Energy was a funding vehicle; it did not contract with employees or
           16      consultants. Swan’s mining employees and consultants operated 2040 Energy and
           17      engaged with business vendors and partners (including equipment vendors and
           18      datacenter mining hosts) using the Swan brand. Klippsten served as 2040 Energy’s CEO
           19      (as well as Swan’s CEO), overseeing Swan’s mining team and operations.
           20            61.     Tether funded 2040 Energy and controlled 2040 Energy’s Board of
           21      Directors. Klippsten served as Swan’s sole director on the 2040 Energy board, and
           22      Tether CFO Giancarlo Devasini and Ludovicus Jan van der Velde (the former CEO of
           23      Tether and current CEO of Tether’s sister company, Bitfinex) served as Tether’s
           24      directors on the 2040 Energy board.
           25            62.     Like Swan’s employment and consultant agreements, the 2040 Energy
           26      Shareholders Agreement contains a broad confidentiality provision, which provides that:
           27      “[E]ach party hereby severally undertakes with each of the other parties and with [2040
           28      Energy] not, at any time during the term of this Agreement or at any time thereafter, to
Gibson, Dunn &                                              18
 Crutcher LLP
                                          COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E         Document 1 Filed 09/25/24     Page 20 of 50 Page ID
                                                          #:20


             1     use or divulge or communicate to any person, (other than to his or its or the [2040
             2     Energy’s] professional advisers (each of whom shall be bound by a duty of
             3     confidentiality) or on the instructions of the Board (acting with Investor Consent)) any
             4     Confidential Information.” Confidential Information under that Agreement includes but
             5     is not limited to information related to “customers, suppliers, business, assets, or affairs
             6     or plans, intentions or market opportunities of any other party or any member of the
             7     other party’s Group.”
             8         V.         The Defendants Plot to Steal Swan’s Business, Confidential and
             9                    Proprietary Information, and Trade Secrets

           10               63.     By 2024, 2040 Energy mining was a runaway success by any measure. On
           11      information and belief, 2040 Energy’s value had soared. By July 2024, Swan’s hard
           12      work had expanded its mining operation’s capacity to just under twelve exahashes,
           13      meaning that it was performing nearly twelve quintillion computations per second to
           14      ensure secure processing of transactions on the Bitcoin network. By July 2024, 2040
           15      Energy was mining approximately one of every fifty Bitcoins worldwide. Tether CFO
           16      Devasini told Klippsten on multiple occasions that in his opinion Klippsten was the best
           17      CEO in the space.
           18               64.     By February 2024, Tether and Swan had agreed in principle to enter into a
           19      new funding agreement, known as 2140 Energy, which would further invest in the
           20      Tasmania site and other Bitcoin mining opportunities.
           21               65.     But before the 2140 Energy deal was finalized, Defendants and other Swan
           22      conspirators7 decided to enrich themselves at Swan’s expense. They hatched a plan to
           23
                   7
                     These conspirators constituted nearly all of Swan’s mining personnel, including
           24
                   Raphael Zagury (Swan’s then-Chief Investment Officer), Bill Belitsky (Swan’s then-
           25      General Counsel), Brett Hiley (Swan’s then-Vice President of Institutional Operations
                   & Research), Tyler Effertz (Swan’s then-Financial Controller), Kartheek Sola (Swan’s
           26
                   then-Technical Researcher), and Aleksander Dozic (Swan’s then-Accountant). Swan is
           27      not pursuing claims against them in this action because their agreements with Swan
                   provided for dispute resolution procedures outside this Court. Swan anticipates pursuing
           28
Gibson, Dunn &                                                 19
 Crutcher LLP
                                              COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E     Document 1 Filed 09/25/24       Page 21 of 50 Page ID
                                                      #:21


             1     steal Swan’s mining business from the inside, usurp Swan’s role, and cut Swan out from
             2     the Tether joint venture. They dubbed it “rain and hellfire.”
             3           66.    Upon information and belief, Defendants and their Swan conspirators’
             4     executed their “rain and hellfire” plan by: (a) downloading all of Swan’s confidential
             5     and proprietary business information and trade secrets necessary to operate a Bitcoin
             6     mining business, including BNOC and other material they would need to operate 2040
             7     Energy; (b) creating a new company, Defendant Proton, which Swan’s then-CIO Zagury
             8     would operate as CEO with Swan’s then-Investment Director Defendant Naidoo as CIO,
             9     and which would employ other Defendants and Swan conspirators; and (c) soliciting
           10      “legal cover” from Tether to claim that Swan—following their departure—could no
           11      longer manage mining for 2040 Energy, push Swan out of its funding agreement with
           12      Tether, and insert Defendant Proton as Swan’s replacement.
           13            67.    Swan did not uncover the “rain and hellfire” plan until it was blindsided by
           14      the individual Defendants and Swan conspirators coordinated resignations on August 8-
           15      9, 2024. In the weeks following, Swan has been able to retrieve and review electronic
           16      data and forensic activity logs associated with departing employees’ and consultants’
           17      accounts and reconstruct their treachery.      Those logs show that Swan’s former
           18      employees and consultants—including Zagury, Defendant Furlong, Defendant
           19      Monteleone, Defendant Naidoo, and Dozic—accessed, downloaded, and collectively
           20      took large volumes of Swan’s confidential and proprietary information and trade secrets
           21      in the weeks and days preceding their coordinated resignations, without Swan’s
           22      knowledge and in violation of their Swan contracts and Swan’s policies.
           23            68.    Swan was also able to review electronic communications—including
           24      emails and Zoom call logs—from Defendants’ and the other Swan conspirators’
           25      business accounts. While Swan’s investigation is ongoing, this much is now clear:
           26            69.    Beginning in June 2024, Swan began the process of raising investment into
           27
                   claims against these individuals pursuant to the procedures provided by their
           28      agreements.
Gibson, Dunn &                                              20
 Crutcher LLP
                                          COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E       Document 1 Filed 09/25/24      Page 22 of 50 Page ID
                                                        #:22


             1     Electric Solidus Inc. through a Series C fundraising round.
             2           70.    In late June 2024, Zagury met with Tether’s outside counsel for 2040
             3     Energy at the EAST Miami hotel. Shortly thereafter, Zagury drafted a sham document
             4     entitled “Cory Thoughts,” which included a poison pill recommendation to Swan’s CEO
             5     to focus solely on Swan’s mining business and to split off the other aspects of its Bitcoin
             6     business, including Swan’s original financial services.
             7           71.    On June 28, 2024, Zach Lyons (a founder and principal of Marlin Capital
             8     Partners, one of Tether’s advisors) told Swan that Tether was offering to lead Swan’s
             9     Series C fundraising round with a $25 million investment that would value Swan’s
           10      business at $1 billion.
           11            72.    On July 2, 2024, Zagury relayed to Swan’s then-President, Gomes, a
           12      summary of a discussion Zagury had with Lyons, explaining that Lyons apparently
           13      believed Swan’s Bitcoin mining business was “in a good position” and was “crushing
           14      it,” while the remainder of Swan’s business (including its financial services operation
           15      with approximately 170 of employees) was “a venture capital bet.” Zagury (while he
           16      was employed as an executive (CIO) with Swan) also told Gomes that Lyons “thinks it
           17      is the right [decision] now” to spin Swan’s mining business off as an independent entity.
           18      Zagury then floated the Defendants’ and Swan conspirators’ double-cross—he discussed
           19      with Gomes the possibility of forming a new company that would replace Swan as the
           20      operator of 2040 Energy. Zagury would be the new company’s CEO, Swan’s then-
           21      Investment Director Naidoo would be the COO, and Holmes would be the Head of
           22      Operations and Procurement.
           23            73.    On July 11, 2024, Zagury and Defendant Naidoo met with Lyons to plot an
           24      “unwind” of Swan’s involvement in 2040 Energy. Lyons’ motivation is laid bare in
           25      contemporaneous notes of this meeting. He said that Swan had “no value” to Tether and
           26      the group discussed the possibility of certain Swan employees and consultants leaving
           27      Swan and going to Tether or another operator to “[k]eep doing what [they’re] doing.”
           28
Gibson, Dunn &                                               21
 Crutcher LLP
                                             COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E      Document 1 Filed 09/25/24     Page 23 of 50 Page ID
                                                       #:23


             1     Lyons told Zagury and Defendant Naidoo that Klippsten “has to realize they [Tether]
             2     can take away [Swan’s mining business] tomorrow.”
             3           74.      On July 12, 2024, Zagury sent Klippsten what Zagury claimed were
             4     “recommendations” based on a document he had initially drafted on June 28, 2024,
             5     including that Swan focus solely on mining—i.e., the only aspect of Swan’s business
             6     that would advance the Defendants’ new business interests.
             7           75.      On July 15, 2024, Zagury spoke with Lyons. During the meeting, Zagury
             8     messaged to Gomes the prospect of suing Swan and forcing a wind down of Swan’s
             9     business unless Swan agreed with Tether to accept “wind down capital,” force Klippsten
           10      to resign as CEO of Swan, and turn over Swan’s mining business to Tether.
           11            76.      Around that same time, Zagury tried to sow dissent and chaos at Swan,
           12      undermine Klippsten, and influence Swan’s employees and consultants to leave Swan.
           13      He repeatedly told Klippsten and other Swan employees and consultants that Tether was
           14      planning to pull out of the new arrangement, sue Swan based on supposed breaches of
           15      the 2040 Energy Shareholders Agreement, and renege on an offer it had made to invest
           16      in Swan in a separate, ongoing round of fundraising. On information and belief, Zagury
           17      did so because he knew that he, Defendants, and other Swan conspirators would replace
           18      Swan in operating 2040 Energy if they successfully obtained Swan’s confidential and
           19      proprietary material and the trade secrets and enough Swan employees and/or
           20      contractors.
           21            77.      Zagury and Tether CFO Devasini met on July 20, 2024. Later that day,
           22      Zagury told Klippsten that Devasini wanted to appoint Zagury as a board member of
           23      2040 Energy (ostensibly for Swan) and transfer custody of 2040 Energy’s Bitcoins to an
           24      account controlled by Zagury. Zagury also contacted members of Swan’s Board of
           25      Directors and recommended that they agree to give Swan’s mining business to Tether at
           26      a significantly lower valuation than a valuation Tether had proposed weeks earlier.
           27            78.      On information and belief, Defendant Holmes, Defendant Naidoo, Zagury,
           28      and Lyons met again on Zoom on July 27, 2024, to discuss how Defendant Holmes,
Gibson, Dunn &                                              22
 Crutcher LLP
                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E     Document 1 Filed 09/25/24       Page 24 of 50 Page ID
                                                      #:24


             1     Defendant Naidoo, and Zagury (with others inside Swan) would steal Swan’s
             2     confidential information and trade secrets; the simultaneous resignations of virtually all
             3     Swan employees and contractors servicing the mining business; Defendant Holmes’
             4     formation of a new entity (Defendant Proton); and how 2040 Energy would retain that
             5     new entity to take over the operations of 2040 Energy from Swan.
             6           79.    Contemporaneous notes from meetings between Zagury, Defendant
             7     Holmes, Defendant Naidoo, then-Swan General Counsel Belitsky, and then-Swan
             8     outside counsel Berg (MB Law LLC) detail Defendants’ and their conspirators’ resultant
             9     “rain and hellfire” scheme to “bring the heat” and “blow everything up” at Swan.
           10
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28
Gibson, Dunn &                                               23
 Crutcher LLP
                                          COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E         Document 1 Filed 09/25/24     Page 25 of 50 Page ID
                                                          #:25


             1
             2
             3
             4
             5
             6
             7
             8
             9
           10
           11
           12
           13
           14
           15
           16
           17
           18
           19         VI.         The Defendants Execute Their Scheme

           20               80.     As July turned into August, the Defendants and the Swan conspirators

           21      executed on their “rain and hellfire” plan.

           22               81.     On July 25, 2024, Defendant Monteleone downloaded a component of

           23      Swan’s BNOC (“bnoc-cron”) within GitHub.

           24               82.     On July 29, 2024, Defendant Proton, through an agent, filed a document in

           25      the British Virgin Islands seeking to reserve the name “Proton Management” for a new

           26      corporation. On information and belief, Defendant Holmes caused this document to be

           27      filed.

           28
Gibson, Dunn &                                                 24
 Crutcher LLP
                                              COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E      Document 1 Filed 09/25/24      Page 26 of 50 Page ID
                                                       #:26


             1           83.    On July 30, 2024, Defendant Monteleone downloaded a copy of Swan’s
             2     BNOC core mining dashboard code and, prior to August 8, 2024, exfiltrated this
             3     proprietary code into a code repository outside of Swan’s systems, in violation of Swan
             4     policy.
             5           84.    Also on July 30, 2024, Swan’s then-Vice President of Institutional
             6     Operations & Research Hiley downloaded approximately 319 documents from Swan’s
             7     Google Drive.       This included, for example, highly confidential monthly mining
             8     performance data, data related to mining inventory, operations and machine performance
             9     and configuration by site, meeting notes, and Swan policies and procedures. Of
           10      particular note, Hiley downloaded a log of weekly reports to Klippsten that provide in-
           11      depth analysis and details about all mining sites and operations.
           12            85.    On August 2, 2024, Defendant Proton, through an agent, filed a
           13      Certification of Incorporation in the British Virgin Islands. On information and belief,
           14      Defendant Holmes caused this document to be filed.
           15            86.    During the first week of August, Zagury exported data off Swan’s “Notion”
           16      platform, an internal tool for recording business and operational data. That data included
           17      confidential business information concerning ongoing deals with a Swan partner.
           18            87.    That same week, Defendant Naidoo and Defendant Furlong, too,
           19      downloaded numerous documents from Swan’s Google Drive. Defendant Naidoo
           20      downloaded, for example, highly confidential monthly mining performance data,
           21      proprietary financial records, contracts, and earnings reports. One of the documents that
           22      Defendant Naidoo downloaded is a “2040_site_database” spreadsheet that houses all
           23      Swan’s proprietary information related to its hash-rate optimization techniques.
           24            88.    Also that same week, Defendant Furlong downloaded modeling files
           25      containing proprietary formulas and logic that support Swan’s BNOC, which on
           26      information and belief, he would not have downloaded in connection with his day-to-
           27      day role at Swan.
           28            89.    On August 4, 2024, Zagury downloaded all of Swan’s BNOC from GitHub.
Gibson, Dunn &                                               25
 Crutcher LLP
                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E        Document 1 Filed 09/25/24    Page 27 of 50 Page ID
                                                         #:27


             1            90.     And between August 6-8, 2024, Zagury downloaded approximately 1,750
             2     files from Swan’s computer systems to an external hard drive named “G-Tech External
             3     HDD.”        These files included, for example, Swan’s proprietary financial records,
             4     strategic development records, contracts, term sheets, Bitcoin mining operating models,
             5     Bitcoin wallet information regarding Swan and its partners within 2040 Energy, Slack
             6     communications, email correspondence and attachments, and Bitcoin code. Zagury also
             7     downloaded the “2040_site_database” spreadsheet that houses all Swan’s proprietary
             8     hash-rate optimization techniques information.
             9            91.     August 8, 2024 was the culmination of Defendants’ and Swan conspirators’
           10      efforts.
           11             92.     That morning, Defendant Holmes, Defendant Monteleone, Defendant
           12      Naidoo, then-Swan Junior Investment Analyst Defendant Romualdez, Zagury, Belitsky,
           13      Berg, then-Swan Staff Accountant Dozic, and Lyons met on Zoom for several hours.
           14      On information and belief, they coordinated the culmination of their plan to continue
           15      pilfering Swan’s trade secrets and confidential information; resign from Swan en masse;
           16      and pivot to Defendant Proton to complete the takeover of Swan’s mining business and
           17      place with 2040 Energy.         On information and belief, Defendants Furlong and
           18      Vasconcelos were part of this group and were actively involved in Defendants’ schemes
           19      and misappropriation.
           20             93.     Sometime that day, Dozic downloaded approximately 616 files to an
           21      external hard drive named “\Device\HarddiskVolume 7\”. These files included, for
           22      example, economic modeling related to Swan’s mining and general business operations,
           23      Swan budgets, general ledgers, customer invoices related to Bitcoin mining, mining
           24      inventories, contracts, Bitcoin wallet information regarding Swan and its partners within
           25      2040 Energy, energy reports, banking information, and earnings reports broken down
           26      by individual mining sites.
           27
           28
Gibson, Dunn &                                               26
 Crutcher LLP
                                            COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E       Document 1 Filed 09/25/24      Page 28 of 50 Page ID
                                                        #:28


             1           94.      Dozic also downloaded a document off Swan’s Notion’s platform entitled
             2     “Invoice and Payments Tracker,” which includes Swan’s confidential and proprietary
             3     customer and pricing information.
             4           95.      Defendant Monteleone received an alert from GitHub to his Swan work
             5     email address that day, informing him of an error in building a version of BNOC
             6     software that appeared identical to Swan’s, indicating that BNOC had been cloned and
             7     stolen. Defendant Monteleone duplicated Swan’s code and exfiltrated it to the GitHub
             8     organization, “elektron-tech,” and repository named “nxt” unassociated with Swan.
             9     When he realized that alerts of his suspicious GitHub activity were being sent to a Swan
           10      email address, Defendant Monteleone immediately took action to remove his Swan work
           11      email address from his GitHub account to evade further detection. Four minutes after
           12      the first alert, GitHub sent another alert to Defendant Monteleone’s Swan work email
           13      address confirming he had removed his Swan work email address from his GitHub
           14      account.
           15            96.      After the conspirators secured Swan’s confidential and proprietary
           16      information and trade secrets, Defendant Holmes (for his personal company Defendant
           17      Ilios) sent a notice of resignation from Swan and Zagury began drafting his notice of
           18      resignation.
           19            97.      Defendant Holmes also tried to manufacture a cover-up to their preexisting
           20      scheme—he wrote Zagury and Defendant Naidoo, “I want to let you both know that I
           21      have made the decision to terminate my contractor agreement with Swan, effective as of
           22      an hour ago. I am in the process of making arrangements to manage the fleet that we
           23      have built together and want you both with me.” Zagury sent his notice of resignation
           24      from Swan approximately eight minutes after Defendant Holmes sent his message, and
           25      Defendant Naidoo sent a notice of resignation approximately one minute later.
           26            98.      Shortly thereafter, Defendant Holmes sent a message to Defendant Furlong,
           27      Defendant Monteleone, Defendant Romualdez, Defendant Vasconcelos, Belitsky, Berg,
           28      Dozic, Effertz, Hiley, and Sola stating that “Arrangements are under way” for a new
Gibson, Dunn &                                                27
 Crutcher LLP
                                            COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E      Document 1 Filed 09/25/24     Page 29 of 50 Page ID
                                                       #:29


             1     entity (the already existing Defendant Proton) and “I don’t expect us to skip a beat.”
             2     The message further stated that Zagury and Defendant Naidoo would be joining
             3     Defendant Holmes at the new entity.
             4           99.      With that assurance, the Swan conspirators sent quick-succession notices
             5     of resignation:
             6                  Aleksander Dozic: Aug. 8, 2024, 6:31 p.m., “Resignation Notice”
             7                  Rafael Monteleone: Aug. 8, 2024, 6:43 p.m., “Resignation
                                 Notice”
             8                  Katheek Sola: Aug. 8, 2024, 6:53 p.m., “Official resignation”
             9                  Brett Hiley: Aug. 8, 2024, 7:26 p.m., “Letter of Resignation –
                                 Brett Hiley”
           10                   Lucas Vasconcelos: Aug. 8, 2024, 7:35 p.m., “Resignation
           11                    Notice: Lucas Vasconcelos”
                                Max Berg: Aug. 8, 2024, 7:51 p.m., “MB Law LLC – Termination
           12                    of Representation”
           13                   Tom Furlong: Aug. 8, 2024, 8:18 p.m., “Resignation notice”
           14                   Enrique Romualdez: Aug. 8, 2024, 8:25 p.m., “Immediate
                                 Resignation Notice: Enrique Romualdez”
           15                   Tyler Effertz: Aug. 8, 2024, 9:25 p.m., “Notice of Resignation –
           16                    Tyler Effertz – 8/9/24”
                                Bill Belitsky: Aug. 9, 2024, 9:14 a.m., “Resignation Notice”
           17
                   On information and belief, Defendants Furlong, Romualdez, Monteleone, and
           18
                   Vasconcelos, as well as Effertz, and other Swan conspirators, began working with
           19
                   Defendants Holmes and Naidoo for Defendant Proton.
           20
                         100. Early on August 9, 2024, Tether’s counsel sent an unprompted (and self-
           21
                   serving) email to Swan saying that “I understand that most or all of the Swan Mining
           22
                   employees have resigned this morning. I have spoken with Tether and confirmed that
           23
                   these former employees were not encouraged to resign and have no existing
           24
                   arrangements with Tether.”
           25
                         101. Also on August 9, 2024, as the Defendants and Swan conspirators had
           26
                   planned and, on information and belief orchestrated, Tether’s counsel served upon
           27
                   Swan’s counsel a carefully timed and detailed “Notice of Event of Default,” dated that
           28
Gibson, Dunn &                                               28
 Crutcher LLP
                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E     Document 1 Filed 09/25/24      Page 30 of 50 Page ID
                                                      #:30


             1     same day, baselessly claiming that Swan breached the 2040 Energy Shareholders
             2     Agreement, providing the planned “legal cover” against Swan for Defendant Proton to
             3     take Swan’s place in 2040 Energy and potentially beyond. For example, the supposed
             4     “events of default,” included Swan’s alleged breach of the Shareholders Agreement
             5     because Klippsten “provided no assurances that Swan will be able to maintain the
             6     personnel necessary for Swan to procure that the business of 2040 Energy is conducted
             7     in accordance with the Investment Memos and sound business practices and commercial
             8     principles.” Of course, no such assurances would be necessary had Defendants and the
             9     Swan conspirators not been conspiring for weeks to coordinate the mass resignation less
           10      than a day prior.
           11            102. On August 12, 2024, Klippsten was forced to resign as CEO of 2040
           12      Energy because it was clear Swan (his company) was being pushed out of that funding
           13      arrangement; Tether had accused Swan (again, his company) of breaching the
           14      Shareholders Agreement; and based on his conclusion that Devasini and van der Velde,
           15      as the controlling directors of 2040 Energy, had played a role in stealing Swan’s mining
           16      team and business and were not acting in good faith.
           17            103. Also on August 12, 2024, Tether’s counsel sent Swan a “Notice of
           18      Continuing and Additional Breach,” alleging again that Swan had further breached the
           19      2040 Energy Shareholders Agreement based on the resignations of “a substantial
           20      number of Swan employees responsible for carrying out and overseeing the ongoing
           21      business operations of 2040 Energy.”
           22            104. In that August 12, 2024 notice, Tether’s counsel wrote further: “Tether
           23      has engaged on the date hereof [Defendant] Proton Management Ltd., which entity
           24      has represented that it can supply the services of certain former employees of Swan,
           25      to procure that the business of 2040 Energy is conducted in accordance with the
           26      investment memos previously provided by Swan and sound business practice and
           27      commercial principles.” With that, as Swan would later learn, Defendants’ and the Swan
           28      conspirators’ coup was complete—Defendant Proton, created by Defendant Holmes, led
Gibson, Dunn &                                              29
 Crutcher LLP
                                          COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E     Document 1 Filed 09/25/24       Page 31 of 50 Page ID
                                                      #:31


             1     by CEO Zagury and CIO Defendant Naidoo had created an illegal facsimile of Swan’s
             2     Bitcoin mining business.
             3           105. As a further result of Defendants’ “rain and hellfire” plan, Swan’s plans for
             4     a Series C fundraising round and an IPO were scuttled. Because Swan was unable to
             5     count on the 2040 Energy continued funding relationship for Bitcoin mining, it was
             6     forced to withdraw its Series C round and go back to the market several weeks later
             7     seeking investment at a much lower valuation.
             8           106. Swan is still in the market seeking funding for its Series C fundraising
             9     round.
           10          VII. Swan Investigates, Tries to Mitigate Disruption, and Reserves Rights
           11            107. Swan acted quickly to assert its rights and protect the ability of 2040 Energy
           12      to conduct its mining business, mindful that Klippsten was still formally a director of
           13      2040 Energy and that Swan may still technically own a stake in the venture.
           14            108. On August 13, 2024, Swan, through counsel, responded to the August 9
           15      Notice of Event of Default and August 12 Notice of Continuing and Additional Breach.
           16      Swan “rejected” the claims “in their entirety” and explained why they were “entirely
           17      without merit.” Based on its nascent investigation, Swan’s counsel explained that the
           18      breach claims based on the Defendants’ and Swan conspirators’ resignations in
           19      particular “is galling.” Swan further notified Tether that evidence shows “Tether itself
           20      procured the Employee Resignations and has been engaged in a conspiracy with those
           21      former Swan employees to seal for Tether’s benefit Swan’s [B]itcoin mining business.”8
           22            109. Also on August 13, 2024, Swan demanded that Defendants Holmes and
           23      Romualdez, along with Swan conspirators Zagury, Belitsky, Dozic, Effertz, Hiley, and
           24      Sola, return their Company-issued laptops and equipment to Swan as required by their
           25
           26
                   8
           27        Swan does not currently bring this lawsuit against Tether or its subsidiary Zettahash
                   while Swan continues to investigate their precise involvement, but Swan reserves its
           28      rights to do so without waiver.
Gibson, Dunn &                                              30
 Crutcher LLP
                                          COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E     Document 1 Filed 09/25/24        Page 32 of 50 Page ID
                                                      #:32


             1     individual employment or consulting agreements.           Defendant Holmes’ agreement
             2     (through Defendant Ilios), for instance, provided that:
             3
                                Upon the termination of this Agreement, or upon Company’s
             4                  earlier request, Consultant will immediately deliver to the
             5                  Company, and will not keep in Consultant’s possession, recreate,
                                or deliver to anyone else, any and all Company property,
             6                  including, but not limited to, Confidential Information, tangible
             7                  embodiments of the Inventions, all devices and equipment
                                belonging to the Company, all electronically[] stored
             8                  information and passwords to access such property, [certain
             9                  records,] and any reproductions of any of the foregoing items that
                                Consultant may have in Consultant’s possession or control.9
           10
           11      None were returned.10

           12            110. On August 14, 2024, Tether’s counsel responded to Swan’s letter,

           13      requesting that Swan provide information concerning “specific steps proposed to be

           14      undertaken by Swan to ensure that the business of [2040 Energy] continues to be

           15      conducted as contemplated by the Shareholders Agreement.”

           16            111. Although Klippsten had been forced to resign from his position as CEO of

           17      2040 Energy, he believed he had fiduciary duties to the entity from his position as a

           18      director. While Swan was sorting out whether the Shareholders Agreement was still in

           19      effect, Swan knew it also technically had a number of obligations to 2040 Energy under

           20      the Shareholders Agreement. And Swan understood Defendants were still collecting

           21
           22
                   9
           23         The other individual Defendants’ agreements are identical, see Klippsten Decl. Exs.
                   A-F, with one exception—Defendant Ilios’s Agreement excludes from the definition of
           24      “Confidential Information” “all of Consultant’s involvement, relationship, and dealings
           25      with Daniel Tuzzio [], and all of Tuzzio’s affiliated entities, whether in existence prior
                   to or after the Effective Date” of the Agreement. Id. Ex. B. Tuzzio was a preexisting
           26      business associate of Defendant Holmes whom Swan and Holmes agreed would perform
           27      services for Swan through Holmes.
                   10
                      Defendant Romualdez responded with his address, but then fell silent (and his laptop
           28      was not returned with subsequent requests).
Gibson, Dunn &                                               31
 Crutcher LLP
                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E     Document 1 Filed 09/25/24       Page 33 of 50 Page ID
                                                      #:33


             1     ammunition for Tether to use to sue Swan under the Shareholders Agreement to deflect
             2     from their wrongdoing. Swan also was exploring its legal options.
             3           112. Accordingly, on August 19, 2024, Swan (through counsel) described to
             4     Tether’s counsel a number of “steps” it had taken or would take “in an effort to preserve
             5     shareholder value at 2040, while retaining all rights to pursue any claims Swan may have
             6     at law or in equity.” Swan reiterated that, on “August 13, 2024, Tether provided Swan
             7     with notice that Tether had appointed [Defendant] Proton Management to manage 2040
             8     Energy’s day-to-day operations. As you know, Proton Management consists entirely of
             9     former Swan employees whom Tether conspired to effectively steal Swan’s [B]itcoin
           10      mining business.” It reserved all rights and stated clearly that Defendant “Proton
           11      Management is using intellectual property Proton’s employees stole from Swan before
           12      resigning their positions with Swan,” and requested “that the board of 2040 immediately
           13      notify [Defendant] Proton Management to seek proper licenses to any intellectual
           14      property that may belong to Swan.” Neither 2040 Energy nor Defendant Proton ever
           15      did so.
           16            113. On August 22, 2024, and again on August 27, 2024, Swan repeated its
           17      request that Defendants Holmes and Romualdez, along with Swan conspirators Zagury,
           18      Belitsky, Dozic, Effertz, Hiley, and Sola, return their Company-issued laptops and
           19      equipment to Swan as required by their individual employment or consulting
           20      agreements. It made the same request of Defendants Furlong, Monteleone, Naidoo, and
           21      Vasconcelos. Again, none did so.
           22
           23
           24
           25
           26
           27
           28
Gibson, Dunn &                                              32
 Crutcher LLP
                                          COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E    Document 1 Filed 09/25/24      Page 34 of 50 Page ID
                                                     #:34


             1           114. At the same time, Swan continued to investigate the former-Swan
             2     personnel’s departures and conspiracy with the Defendants. As a GitHub member, Swan
             3     is able to view obscured versions of private activity on GitHub, including that of its
             4     former employees and contractors, including the former Swan conspirators. Defendant
             5     Monteleone (username: RDMEC), Defendant Vasconcelos (username: lucasvm8), and
             6     Zagury (username: pxsocs) have been highly active on GitHub following their
             7     resignations from Swan, during the weeks of August and September 2024:
             8
             9
           10
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28
Gibson, Dunn &                                             33
 Crutcher LLP
                                         COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E     Document 1 Filed 09/25/24      Page 35 of 50 Page ID
                                                      #:35


             1
             2
             3
             4
             5
             6
             7
             8
             9
           10
           11
           12
           13      Zagury’s contribution activity in particular indicates that he has been more active on
           14      GitHub in August than the preceding months when he was a Swan employee. On
           15      information and belief, Defendant Monteleone, Defendant Vasconcelos, and Zagury’s
           16      high GitHub activity levels following their resignations of Swan are the result of their
           17      continued access to and use of Swan’s BNOC.
           18            115. On September 13, 2024, Tether’s counsel proposed written resolutions of
           19      the Board of Directors of 2040 Energy related to a Bitcoin wallet contract, nominally
           20      asking for Klippsten’s review and approval as a director. Among other things, the
           21      resolutions:
           22                Falsely represented that, on August 19, 2024, Swan “proclaimed”
                              that it had resigned from its responsibilities for “day-to-day
           23                 operations” over 2040 Energy “notwithstanding the Shareholders
           24                 Agreement”;

           25                Represented again that 2040 Energy had appointed Defendant
                              Proton “to provide day-to-day management services for the
           26
                              Company”; and
           27
           28
Gibson, Dunn &                                              34
 Crutcher LLP
                                          COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E     Document 1 Filed 09/25/24     Page 36 of 50 Page ID
                                                      #:36


             1               Revealed that Zagury is the Chief Executive Officer of Defendant
             2                Proton, Defendant Naidoo is the Chief Investment Officer, and
                              Effertz is the Chief Financial Officer.
             3
                         116. Swan responded that Klippsten could not sign the resolutions because they
             4
                   were misleading: Swan’s “August 19th correspondence . . . did not, for example,
             5
                   ‘proclaim’ Swan’s ‘Resignation.’ As [Swan] made clear, Swan is not responsible for
             6
                   managing 2040’s day-to-day operations because, on August 13, 2024 (6 days earlier),
             7
                   Tether appointed Proton Management to manage 2040’s day-to-day operations. That
             8
                   appointment, as you know, was the culmination of Tether’s conspiracy with the former
             9
                   Swan affiliates and employees who formed and now work at Proton Management to
           10
                   steal Swan’s BNOC and bitcoin mining business (among other conduct). Zagury, who
           11
                   is identified as Proton’s CEO in the resolutions, was Swan’s Chief Investment Officer
           12
                   until his abrupt and coordinated resignation from Swan on August 9, 2024, and San
           13
                   Naidoo, who is identified as Proton’s Chief Investment Officer, was Swan’s consultant
           14
                   until his abrupt and coordinated resignation on August 9th.” Again, Swan reserved all
           15
                   rights. (On September 17, 2024, Tether’s counsel informed Swan that the 2040 Energy
           16
                   Board had unilaterally passed the resolutions.)
           17
                         117. Defendants also sought, and continue to seek, to whitewash their conduct,
           18
                   trade on Swan’s name, and mislead third parties. In an email to a Swan vendor on
           19
                   September 14, 2024, for example, Tether’s counsel stated: “2040 Energy [] has
           20
                   experienced a nominal change in management. Some of the team from Swan Bitcoin
           21
                   now provides day-to-day management services to 2040 through an independent
           22
                   management company. I expect that Tyler Effertz and Bill Belitsky (copied) will be
           23
                   familiar to you.” Tether’s counsel did not, of course, disclose the Defendants’ scheme
           24
                   to steal Swan’s Bitcoin business, personnel, and confidential and proprietary
           25
                   information and trade secrets for this “independent management company.”
           26
           27
           28
Gibson, Dunn &                                              35
 Crutcher LLP
                                          COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E       Document 1 Filed 09/25/24       Page 37 of 50 Page ID
                                                        #:37


             1        VIII. Swan Has Been, and Continues to Be, Irreparably Harmed by Defendants
             2              and Their Coconspirators’ Misconduct

             3           118. Swan has suffered irreparable harm because of Defendants’ misconduct,
             4     and it will continue to suffer irreparable harm if Defendants are not enjoined from
             5     continuing their misdeeds.
             6           119. On information and belief, Defendant Proton is currently using and
             7     integrating (changing) Swan’s confidential and proprietary information, including its
             8     trade secrets like BNOC, that Defendants and the Swan conspirators stole in Defendant
             9     Proton’s copycat Bitcoin mining business. Put simply, Defendant Proton is an unlawful
           10      enterprise with no legitimate grounds for existence, operating each day using Swan
           11      Bitcoin’s confidential and proprietary information and intellectual property—including
           12      insider know-how of the same from Swan’s former personnel. Every day that goes by,
           13      for example, makes it more and more difficult for Swan to trace and recover its trade
           14      secrets.
           15            120. The individual Defendants have also blatantly refused (three times) to
           16      return Swan’s physical and intellectual property containing this and other Swan
           17      information (including their Swan devices).         Swan’s confidential and proprietary
           18      information and trade secrets are at serious risk of being further disclosed and used for
           19      purposes detrimental to Swan and for Defendants’ benefit from these devices, and Swan
           20      has been prevented from investigating the full extent of Defendants’ theft and
           21      misconduct, and therefore the real, ongoing irreparable harm it has incurred and
           22      continues to incur.
           23            121. Defendants’ misconduct has also dealt a critical blow to Swan’s current
           24      ability to raise investment capital, which is vital to the future of its business. Swan finds
           25      itself in the untenable position of searching for financing partners for its Series C
           26      fundraising round while its valuable, sensitive, and proprietary information and trade
           27      secrets are compromised.
           28
Gibson, Dunn &                                                36
 Crutcher LLP
                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E       Document 1 Filed 09/25/24          Page 38 of 50 Page ID
                                                        #:38


             1           122. The ongoing and irreparable harm to Swan goes further. As outlined above,
             2     Swan invested significant time and effort developing its vendor relationships and
             3     reputation. Defendants have attempted to capitalize on Swan’s reputation by falsely
             4     implying to vendors and others that “Swan” is still responsible for the day-to-day
             5     operations of 2040 Energy. For example, Defendants have represented to third parties
             6     that 2040 Energy has “experienced a nominal change in management” and that “[s]ome
             7     of the team from Swan Bitcoin now provides day-to-day management services to 2040
             8     through an independent management company.”
             9           123. Swan has already had to expend significant resources to identify and
           10      investigate Defendants’ misconduct and prepare to redress their misdeeds, and its
           11      investigation is ongoing (for which Swan reserves all rights to amend its allegations,
           12      defendants, and claims). But the current and ongoing risks to Swan are real. The harm
           13      to Swan’s business and long-term prospects are—and, if Defendants are not enjoined to
           14      cease their misconduct, will continue to be—irreparable.
           15                                         CAUSES OF ACTION
           16                                    FIRST CAUSE OF ACTION
           17              Trade Secret Misappropriation under the Defend Trade Secrets Act
           18                                        (18 U.S.C. § 1836, et seq.)
           19                                        (Against All Defendants)
           20            124. Each of the foregoing paragraphs is incorporated into this First Cause of
           21      Action, as if set forth herein.
           22            125. Swan possesses trade secrets related to its Bitcoin mining business as
           23      defined by 18 U.S.C. § 1839(3).
           24            126. Swan’s BNOC (“Bitcoin Network Operating Center”) is a trade secret.
           25      BNOC is a software platform for managing mining data and analytics. The software
           26      brings together multiple Application Programming Interface (“API”) integrations and
           27      proprietary logic to assist Bitcoin mining operators with monitoring, analyzing,
           28      modeling, auditing, and optimizing activities across mining sites and hardware
Gibson, Dunn &                                                 37
 Crutcher LLP
                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E       Document 1 Filed 09/25/24    Page 39 of 50 Page ID
                                                        #:39


             1     configurations. With BNOC, Swan can remotely track the status of sites, weather, price
             2     of Bitcoin, hash-rate, and other data concerning mining operations. BNOC integrates
             3     advanced predictive monitoring tools, real-time data analytics, revenue tracking, and
             4     automated alert systems BNOC also provides for sophisticated scenario analyses to
             5     model site/energy assumptions.
             6           127. Swan’s hash-rate optimization techniques also constitute trade secrets.
             7     Swan’s proprietary techniques, which it has developed through testing, maximize the
             8     number of computations-per-second that mining hardware can perform, increasing the
             9     speed at which the computers solve puzzles while minimizing costs. These techniques
           10      include, for example, overclocking and underclocking methods; geographic insights and
           11      modeling tools, which are proprietary methods for selecting optimal mining locations;
           12      latency optimization; cooling and software optimizations for mining hardware and
           13      software; and proprietary pool analytics.     Swan’s specific use, deployment, and
           14      combination of these techniques in Bitcoin mining are unique.
           15            128. Swan’s proprietary financial modeling, data analytics and monitoring tools
           16      also constitute trade secrets. Swan’s specific use, deployment, and combination of its
           17      cost-benefit analysis models; real-time performance dashboards; and marketing trend
           18      analysis tools are unique.
           19            129. Swan has taken reasonable precautions to protect its trade secrets, including
           20      but not limited to implementing confidentiality policies and procedures concerning
           21      Swan’s trade secrets, granting limited access to Swan’s trade secrets, and requiring
           22      individuals provided access to enter into confidentiality agreements and take strict
           23      security measures when accessing Swan’s trade secrets.
           24            130. Swan derives independent economic value from its trade secrets not being
           25      generally known to, and not being readily ascertainable through proper means by, the
           26      public. Swan’s trade secrets are proprietary techniques and methodologies that allow
           27      Swan to successfully and efficiently mine Bitcoin. Swan’s trade secrets drove 2040
           28      Energy to its recent ten-figure valuation. Having access to such information would give
Gibson, Dunn &                                              38
 Crutcher LLP
                                          COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E         Document 1 Filed 09/25/24     Page 40 of 50 Page ID
                                                          #:40


             1     a competitor a tremendous head-start on prospective new Bitcoin mining operations and
             2     a roadmap for how to immediately and effectively compete with Swan’s operation.
             3           131. Defendants have improperly acquired, used and/or disclosed Swan’s trade
             4     secrets in violation of the Defend Trade Secrets Act, 18 U.S.C. § 1836, et seq.
             5           132. On information and belief, if Defendants are not enjoined, they will
             6     continue to access, use, disclose, or otherwise misappropriate Swan’s trade secrets to
             7     benefit themselves (with Defendant Proton) to Swan’s detriment.             As detailed in
             8     paragraph 114, for example, Defendant Monteleone (and Defendant Proton’s current
             9     CEO Raphael Zagury) has been highly active on GitHub following his resignation in
           10      August and September; on information and belief, that activity is due to his access to
           11      and use of Swan’s BNOC with and for Defendant Proton.
           12            133. Defendants’ misappropriation of Swan’s trade secrets has caused and
           13      continues to cause substantial injury to Swan’s business, including, but not limited to
           14      actual damages, lost profits, harm to its reputation, and the diminution of the value of its
           15      trade secrets. Defendants have been unjustly enriched by their misappropriation of
           16      Swan’s trade secret information.
           17            134. Swan seeks temporary, preliminary, and permanent injunctive relief
           18      pursuant to 18 U.S.C. § 1836(b)(3)(A) against all Defendants to protect the secrecy of
           19      its trade secret documents and information and to remedy injury to Swan’s business
           20      interests and reputation. Swan will continue to suffer irreparable harm absent the
           21      requested injunctive relief.
           22            135. Swan also seeks an award of actual damages from Defendant Proton in an
           23      amount to be proven at trial under 18 U.S.C. § 1836(b)(3)(B).
           24            136. Because Defendants’ misappropriation and use of Swan’s trade secrets was
           25      intentional, knowing, willful, and oppressive, Swan also seeks exemplary damages from
           26      Defendant Proton up to two times the award of actual damages under 18 U.S.C. §
           27      1836(b)(3)(C) and attorneys’ fees under 18 U.S.C. § 1836(b)(3)(D).
           28
Gibson, Dunn &                                                39
 Crutcher LLP
                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E       Document 1 Filed 09/25/24     Page 41 of 50 Page ID
                                                        #:41


             1                                 SECOND CAUSE OF ACTION
             2                          Breach of Contract (Consulting Agreement)
             3       (Against Defendants Holmes, Ilios, Naidoo, Monteleone, Romualdez, Furlong, and
             4                                           Vasconcelos)
             5           137. Each of the foregoing paragraphs is incorporated into this Second Cause of
             6     Action, as if set forth herein.
             7           138. The consulting agreements Defendants Holmes (on behalf of Defendant
             8     Ilios), Naidoo, Monteleone, Romualdez, and Furlong signed are valid and binding
             9     contractual agreements.
           10            139. Swan fully performed its obligations under the consulting agreements.
           11            140. The consulting agreements were made for valid consideration, including
           12      the compensation each of these Defendants received from Swan.
           13            141. As detailed in paragraph 51 and footnote 5 above, Defendants Holmes (on
           14      behalf of Defendant Ilios), Naidoo, Monteleone, Romualdez, and Furlong agreed to
           15      safeguard Swan “Confidential Information,” promising in their respective consulting
           16      agreements that they each would “hold in the strictest confidence, and take all reasonable
           17      precautions to prevent any unauthorized use or disclosure of Confidential Information.”
           18            142. These Defendants further agreed not to “(i) use the Confidential
           19      Information for any purpose whatsoever other than as necessary for the performance of
           20      the Services on behalf of the Company, or (ii) subject to Consultant’s right to engage in
           21      Protected Activity [], disclose the Confidential Information to any third party without
           22      the prior written consent of an authorized representative of the Company.”
           23            143. Defendants Holmes (on behalf of Defendant Ilios), Naidoo, Monteleone,
           24      Romualdez, and Furlong further agreed that they would “not use or disclose any
           25      Company property, intellectual property rights, trade secrets or other proprietary know-
           26      how of the Company to invent, author, make, develop, design, or otherwise enable others
           27      to invent, author, make, develop, or design identical or substantially similar designs as
           28      those developed under this Agreement for any third party.”
Gibson, Dunn &                                               40
 Crutcher LLP
                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E       Document 1 Filed 09/25/24     Page 42 of 50 Page ID
                                                        #:42


             1           144. These Defendants agreed that their obligations to safeguard Swan’s
             2     confidential information “shall continue after the termination of [their] Agreement[s].”
             3           145. Defendants Holmes (on behalf of Defendant Ilios), Naidoo, Monteleone,
             4     Romualdez, and Furlong breached the foregoing provisions of their respective
             5     consulting agreements by stealing Swan’s confidential and proprietary information—
             6     including but not limited Swan’s mining performance data, data related to Swan’s
             7     mining inventory, mining operations and machine performance and configuration,
             8     financial modeling and information, weekly reports of all operations, and ongoing deals
             9     with Swan business partners—to use for Defendant Proton’s benefit.
           10            146. On information and belief, Defendants have disclosed and used and are
           11      continuing to disclose and use Swan’s confidential and proprietary information to
           12      operate and for Defendant Proton.
           13            147. Swan has suffered and will suffer irreparable harm as a direct and
           14      proximate result of the individual Defendants’ past and ongoing breaches of their
           15      respective consulting agreements—including the further loss of its confidential and
           16      proprietary information and trade secrets—for which there is no adequate remedy at law.
           17                                   THIRD CAUSE OF ACTION
           18                        Tortious Interference with Contractual Relations
           19                         (Against Defendants Proton, Holmes, and Naidoo)
           20            148. Each of the foregoing paragraphs is incorporated into this Third Cause of
           21      Action, as if set forth herein.
           22            149. As part of their employment and for valid consideration, including
           23      compensation from Swan, Zagury, Dozic, Effertz, Hiley, and Belitsky signed
           24      “Confidentiality and Proprietary Information and Inventions Agreements” with Swan
           25      (“Employee Confidentiality Agreements”).
           26            150. Swan fully performed its obligations under the Employee Confidentiality
           27      Agreements.
           28
Gibson, Dunn &                                              41
 Crutcher LLP
                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E     Document 1 Filed 09/25/24      Page 43 of 50 Page ID
                                                      #:43


             1           151. As part of those contracts, Zagury (now Defendant Proton’s CEO), Dozic,
             2     Effertz (now Defendant Proton’s Chief Financial Officer), Hiley, and Belitsky agreed
             3     that, “at any and all times during my service with the Company, I will not engage in any
             4     acts of competition against the interests of the Company and/or any of its affiliates,
             5     regardless of the capacity in which I am acting on behalf of any Competing Business,
             6     and instead shall devote my full-time and attention only to the interests of the Company
             7     and in furtherance of the Company business.” For the “term of my service only,
             8     prohibited acts of competition” included: “performing any services for a Competing
             9     Business11;” “hiring, recruiting or soliciting any employee of the company;” and
           10      “disclosing, misappropriating, or using any property of the Company or any affiliate,
           11      including, without limitation, any form of Confidential Information, Proprietary
           12      Information or Trade Secret, other than in furtherance of the Company Business.”
           13            152. Zagury, Dozic, Effertz, Hiley, and Belitsky also agreed that, “for a period
           14      of twelve months following termination of my Service, I will not, either directly or
           15      indirectly, solicit, entice, encourage, cause, or recruit any person employed by the
           16      Company or any affiliate to leave such person’s employment with the Company or any
           17      affiliate to join a Competing Business.”
           18            153. Swan had a contractual expectancy that Zagury, Dozic, Effertz, Hiley, and
           19      Belitsky12 would abide by the Employee Confidentiality Agreements.
           20            154. Zagury, Dozic, Effertz, Hiley, and Belitsky breached the foregoing
           21      provisions of the Employee Confidentiality Agreements by planning, coordinating, and
           22      conspiring with and through Defendant Proton and others, including but not limited to
           23
                   11
                      “Competing Business” is defined in the Employee Confidentiality Agreements as “any
           24      person or entity that engages in a commercial business that is the same or substantially
           25      similar to the Company Business, and only that portion of the business that is in
                   competition with the Company Business.” “Company Business” is defined, in part, as
           26      any “business in which the Company engages during my Services with the Company”—
           27      in this case, Bitcoin mining.
                   12
                      Swan reserves its rights based on Defendants Holmes/Ilios, Naidoo, Monteleone,
           28      Romualdez, and Furlong’s breaches of their nonsolicitation obligations.
Gibson, Dunn &                                                42
 Crutcher LLP
                                          COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E       Document 1 Filed 09/25/24     Page 44 of 50 Page ID
                                                        #:44


             1     Defendants Holmes and Naidoo, to compete with Swan during their employment by
             2     working on behalf of Proton’s competing mining business and soliciting Swan’s
             3     employees to leave their employment and of Swan’s independent contractors to
             4     terminate their services as independent contractors during the time period prohibited by
             5     the Employee Confidentiality Agreements to work for Proton.
             6              155. Several of the then-Swan employees and contractors that Zagury, Dozic,
             7     Effertz, Hiley, and Belitsky, with Defendants’ help, unlawfully solicited resigned from
             8     Swan and started working for Proton shortly thereafter. On information and belief, that
             9     solicitation may be ongoing as to at least certain individuals whom Zagury, Dozic,
           10      Effertz, Hiley, and Belitsky solicited from Swan and who resigned from Swan, but who
           11      have not yet surfaced publicly as working with or for Defendant Proton.
           12               156. Defendants Proton, Holmes, and Naidoo had knowledge of Swan’s
           13      contractual relationship with Zagury, Dozic, Effertz, Hiley, and Belitsky at all material
           14      times.
           15               157. Defendants Proton, Holmes, and Naidoo intentionally interfered with the
           16      Employee Confidentiality Agreements by planning, coordinating, and conspiring with
           17      Zagury, Dozic, Effertz, Hiley, and Belitsky to compete with Swan and solicit Swan’s
           18      employees and contractors to work for Proton.
           19               158. Based on these Defendants’ interference with the Employee Confidentiality
           20      Agreements, Swan has had its contractual relationship and expectancies with Zagury,
           21      Dozic, Effertz, Hiley, and Belitsky diverted, disrupted, damaged, and threatened by the
           22      actions of Defendants Proton, Holmes, and Naidoo as described herein.
           23               159. Swan has suffered and will suffer damages as a direct and proximate result
           24      of the Defendants Proton’s interference—including but not limited to actual and
           25      potential further loss of its personnel—for which there is no adequate remedy at law.
           26               160. Swan has suffered and will suffer irreparable harm as a direct and
           27      proximate result of the Defendants Proton, Holmes, and Naidoo’s interference—
           28
Gibson, Dunn &                                               43
 Crutcher LLP
                                            COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E       Document 1 Filed 09/25/24         Page 45 of 50 Page ID
                                                        #:45


             1     including but not limited to actual and potential further loss of its personnel—for which
             2     there is no adequate remedy at law.
             3                                 FOURTH CAUSE OF ACTION
             4                         Aiding and Abetting Breach of Duty of Loyalty
             5                                       (Against Defendant Proton)
             6           161. Each of the foregoing paragraphs is incorporated into this Fourth Cause of
             7     Action, as if set forth herein.
             8           162. Swan’s employees and executives, including but not limited to Zagury,
             9     Dozic, Effertz, Hiley, and Belitsky, owed a duty of loyalty to Swan during their
           10      employment.
           11            163. Defendant Proton was aware of these duties.
           12            164. Defendant Proton knowingly and intentionally interfered with and induced
           13      Swan’s employees, including but not limited to Zagury, Belitsky, Dozic, Effertz, and
           14      Hiley, to breach their duties of loyalty by planning, coordinating, and conspiring with
           15      and through others, including but not limited to Defendants Holmes and Naidoo, to,
           16      while employed by Swan, assist Defendant Proton in preparing to compete with Swan’s
           17      mining business and to solicit (a) Swan’s employees to leave their employment and (b)
           18      Swan’s independent contractors to terminate their services as independent contractors.
           19            165. Defendant Proton’s aiding and abetting of the Swan employees’ disloyalty
           20      has caused and continues to cause substantial harm to Swan’s business.
           21                                    FIFTH CAUSE OF ACTION
           22                Unfair Competition Under Business & Professions Code § 17200
           23                                         (Against All Defendants)
           24            166. Each of the foregoing paragraphs is incorporated into this Fifth Cause of
           25      Action, as if set forth herein.
           26            167. California Business & Professions Code § 17200 prohibits any “unlawful,
           27      unfair or fraudulent business act or practice.”
           28
Gibson, Dunn &                                                 44
 Crutcher LLP
                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E      Document 1 Filed 09/25/24        Page 46 of 50 Page ID
                                                       #:46


             1           168. Defendants’ business acts and practices as alleged herein constitute
             2     ongoing unlawful and unfair activity in violation of California’s Unfair Competition
             3     Law (“UCL”), as codified in California Business and Professions Code § 17200 et seq.
             4           169. Specifically, Defendants acted and are acting unlawfully and unfairly under
             5     California’s UCL by orchestrating and carrying out a course of conduct to disrupt, divert,
             6     and steal Swan’s entire Bitcoin mining business by, for example and without limitation:
             7               Misappropriating, and/or planning, coordinating, and conspiring with the
             8                  other Defendants and other Swan employees and consultants to
             9                  misappropriate, documents and files containing Swan’s proprietary and
           10                   confidential information;
           11                Planning and executing a scheme to lift out the entirety of Swan’s Bitcoin
           12                   mining personnel to accept roles at Defendant Proton, a counterfeit
           13                   competitor created for the sole purpose of using Swan’s stolen technology,
           14                   resources, and trade secret techniques and methods to usurp its mining
           15                   business and irreparably harm Swan’s ability to compete in the Bitcoin
           16                   mining market, and doing so in a manner calculated to inflict maximum
           17                   damage to Swan with a funding partner;
           18                Using the proprietary data, information, and resources Defendants stole to
           19                   operate Defendant Proton’s copycat Bitcoin mining business and
           20                   continuing to work with Swan’s vendors while trading on Swan’s name;
           21                   and
           22                Other conduct which is presently unknown but will be proven at trial.
           23            170. Defendants’ unlawful and unfair actions allowed Defendant Proton to
           24      effectively steal Swan’s Bitcoin mining business and set up an illegal copycat, bypassing
           25      all the investment of time and resources that Swan undertook to grow its full Bitcoin
           26      mining business. This is the epitome of unfair competition, as it disincentivizes the very
           27      sort of investment that Swan undertook in the first place.
           28
Gibson, Dunn &                                               45
 Crutcher LLP
                                          COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E       Document 1 Filed 09/25/24      Page 47 of 50 Page ID
                                                        #:47


             1           171. Swan has suffered and will suffer harm—including irreparable harm for
             2     which there is no adequate remedy at law—as a direct and proximate result of
             3     Defendants’ unlawful and unfair business practices.         Swan is entitled to recover
             4     restitution from Defendant Proton, including without limitation, all benefits that
             5     Defendant Proton received because of its unlawful and unfair business acts and
             6     practices. Swan is further entitled to an injunction restraining Defendants from engaging
             7     in further acts of unfair competition.
             8                                   SIXTH CAUSE OF ACTION
             9                                              Conversion
           10        (Against Defendants Furlong, Holmes, Ilios, Naidoo, Monteleone, Romualdez, and
           11                                               Vasconcelos)
           12            172. Each of the foregoing paragraphs is incorporated into this Sixth Cause of
           13      Action, as if set forth herein.
           14            173. Defendants Furlong, Holmes, Ilios, Naidoo, Monteleone, Romualdez, and
           15      Vasconcelos have no right of possession of Swan-issued laptops and equipment
           16      following the termination of their consulting agreements.
           17            174. Defendants Furlong, Holmes, Ilios, Naidoo, Monteleone, Romualdez, and
           18      Vasconcelos intentionally and wrongfully exercised control or dominion over Swan’s
           19      property, and conducted a scheme of wrongful acts with the intention to appropriate the
           20      property and deprive Swan of its property.
           21            175. Swan retained at the time of the conversion, and still retains, ownership in
           22      the property.
           23            176. Swan has suffered and will suffer irreparable harm for which there is no
           24      adequate remedy at law as a direct and proximate result of Defendants Furlong, Holmes,
           25      Ilios, Naidoo, Monteleone, Romualdez, and Vasconcelos’s conversion of Swan’s
           26      property.
           27
           28
Gibson, Dunn &                                                 46
 Crutcher LLP
                                           COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E       Document 1 Filed 09/25/24      Page 48 of 50 Page ID
                                                        #:48


             1                                 SEVENTH CAUSE OF ACTION
             2                                          Civil Conspiracy
             3                                      (Against All Defendants)
             4           177. Each of the foregoing paragraphs is incorporated into this Seventh Cause
             5     of Action, as if set forth herein.
             6           178. Defendants (between them and with others) formed and operated a
             7     malicious combination with a common design to injure Swan by (a) performing unlawful
             8     acts in stealing and misappropriating Swan’s confidential and proprietary information
             9     and trade secrets as described above for the unlawful purpose of diverting business and
           10      economic gain from Swan, and/or (b) performing the lawful acts of competing with
           11      Swan and hiring certain of Swan personnel, but doing so through the unlawful means of
           12      violating Swan’s contractual, statutory, and common-law rights as described above.
           13            179. The foregoing conduct of the Defendants was malicious, was performed
           14      with intent to injure Swan, and was without justification or privilege. Defendants’
           15      conduct was undertaken in furtherance of their own personal interests and benefit.
           16            180. One, some, or all the Defendants engaged in overt unlawful acts and
           17      conduct violative of Swan’s contractual, common law and statutory rights as described
           18      above, and did so with the knowledge, aid, agreement, and support of the other
           19      Defendants, causing actual harm to Swan.
           20            181. By virtue of the formation and operation of this conspiracy by Defendants,
           21      and because of the above-described wrongful acts and conduct and the harm and injury
           22      caused to Swan thereby, each Defendant as a participant in this conspiracy is liable as a
           23      joint tortfeasor for each and every one of the above-described acts committed by each
           24      Defendant/coconspirator.
           25            182. Swan has suffered and will suffer damages and irreparable harm as a direct
           26      and proximate result of the Defendants’ conspiracy for which there is no adequate
           27      remedy at law.
           28
Gibson, Dunn &                                               47
 Crutcher LLP
                                            COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E        Document 1 Filed 09/25/24     Page 49 of 50 Page ID
                                                         #:49


             1                                           PRAYER FOR RELIEF
             2           WHEREFORE, Plaintiff prays for judgment in its favor and against Defendants,
             3     as follows:
             4           A.       For a temporary injunction requiring Defendants to immediately take steps
             5     to preserve all evidence relevant to the Complaint;
             6           B.       For a temporary and permanent injunction against Defendants, including
             7     enjoining Defendants, and their agents, servants, employees, successors, and assigns,
             8     and all other people acting in concert or conspiracy with any of them or who are affiliated
             9     with them, from disclosing, using, accessing, distributing, modifying, moving, altering,
           10      deleting, or otherwise disposing of any files, documents, and digital media that contain
           11      any Swan proprietary and confidential material or trade secrets, and/or that are derived
           12      from such information;
           13            C.       For a temporary and permanent injunction requiring Defendants to
           14      immediately turn over to counsel for Swan all laptops and any other Swan-issued devices
           15      or hard drives in their possession;
           16            D.       For a permanent injunction enjoining Defendants Proton, Holmes, and
           17      Naidoo from soliciting Swan’s employees to leave their employment during the time
           18      period prohibited by the Employee Confidentiality Agreements;
           19            E.       For a permanent injunction enjoining Defendants from carrying out a
           20      course of conduct to disrupt, divert, and steal Swan’s entire Bitcoin mining business;13
           21            F.       For damages and other relief against Defendant Proton as described in each
           22      of the above causes of action, including:
           23                    i.   For restitution and/or disgorgement against Defendant Proton;
           24                 ii.     For punitive damages against Defendant Proton in an amount to be
           25                         determined at trial;
           26
           27
                   13
                     Swan reserves the right to seek additional preliminary or injunctive relief without
           28      waiver.
Gibson, Dunn &                                                 48
 Crutcher LLP
                                             COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 2:24-cv-08280-WLH-E      Document 1 Filed 09/25/24        Page 50 of 50 Page ID
                                                       #:50


             1              iii.   For actual damages against Defendant Proton for misappropriation of
             2                     trade secrets and for the other unlawful and tortious conduct described
             3                     herein, including in the form of lost profits resulting from the loss of the
             4                     Swan’s personnel, customers, and the loss of Swan’s economic or
             5                     prospective economic relationships, in an amount to be proven at trial;
             6               iv.   For costs, attorney’s fees, and other expenses incurred in this action;
             7               v.    For pre-judgment and post-judgment interest at the maximum legal rate,
             8                     as applicable, as an element of damages that Sawn has suffered as a
             9                     result of Defendant Proton’s wrongful acts; and
           10                vi.   For such other relief as the Court may deem just and proper.
           11                                         JURY DEMAND
           12            Swan respectfully requests a jury trial on all claims for relief.
           13
                   DATED: September 25, 2024                      Respectfully submitted,
           14
                                                                  GIBSON, DUNN & CRUTCHER LLP
           15
           16                                                     By:/s/ Ilissa Samplin
           17
                                                                  Attorneys for Plaintiff
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28
Gibson, Dunn &                                               49
 Crutcher LLP
                                          COMPLAINT AND DEMAND FOR JURY TRIAL
